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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
      Clerk                        CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov



                                       Filed: March 23, 2016



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                Re: Case No. 15-2128, Daniel Ericksen v. John Doe, I, et al
                    Originating Case No. : 2:15-cv-10088

Dear Counsel:

   The Court issued the enclosed Order today in this case.

                                       Sincerely yours,

                                       s/Amy E. Gigliotti
                                       Case Manager
                                       Direct Dial No. 513-564-7012

cc: Mr. David J. Weaver

Enclosure
